          Case 1:18-cr-10391-RGS Document 44 Filed 03/21/19 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                  Criminal No: 18-CR-10391-RGS
                                    )
DEREK SHEEHAN,                      )
            Defendant.              )
____________________________________)

JOINT MOTION TO RESCHEDULE STATUS CONFERENCE AND EXCLUDE TIME

       The United States of America, by and through the undersigned Assistant United States

Attorney, and the defendant, by and through his attorney, jointly request that the upcoming status

conference be continued March 25, 2018 or some other date convenient for the Court and the

parties, to allow further time for the government to produce discovery requested by the defendant.

The parties also respectfully move this Court to exclude the time period from March 21, 2018

through and including the rescheduled status conference date from the speedy trial clock, pursuant

to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), on the ground that the ends of justice served

by excluding this period outweigh the best interests of the public and the Defendant in a speedy

trial. The parties jointly agree that this period constitutes “the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence,” and that the ends of justice

served by granting the requested continuance outweigh the best interests of the public and the

defendant in a speedy trial pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).




                                                  1
         Case 1:18-cr-10391-RGS Document 44 Filed 03/21/19 Page 2 of 2



                                                             Respectfully submitted,

                                                             ANDREW E. LELLING
                                                             United States Attorney

       /s/ William Keefe_____________                    By: /s/ Anne Paruti______________
       William Keefe                                         Anne Paruti
       Attorney for Derek Sheehan                            Assistant United States Attorney

Dated: March 21, 2019


                              CERTIFICATE OF SERVICE

        I, Anne Paruti, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants.


                                                     /s/ Anne Paruti______________
                                                     Assistant United States Attorney

Dated: March 21, 2019




                                                 2
